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                                                                      United States District Court
                  IN THE UNITED STATES DISTRICT COURT                   Southern District of Texas
                  FOR THE SOUTHERN DISTRICT OF TEXAS                       ENTERED
                           HOUSTON DIVISION
                                                                       November 20, 2020
JANE ROE,                              §                                David J. Bradley, Clerk

                                       §
                  Plaintiff,           §
                                       §
v.                                     §      CIVIL ACTION NO. H-18-2850
                                       §
CYPRESS-FAIRBANKS INDEPENDENT          §
SCHOOL DISTRICT,                       §
                                       §
                  Defendant.           §


                       MEMORANDUM OPINION AND ORDER

      Plaintiff, Jane Roe, brings this action against defendant, the

Cypress-Fairbanks      Independent     School      District    ("CFISD"),         for

violation of Title IX of the Education Act of 1972,                   20 U.S.C.

§ 1681. 1   Pending before the court are Defendant's Motion for Final

Summary     Judgment   ("Defendant's       MSJ")   (Docket    Entry    No.     33),

Defendant's Motion to Exclude Testimony of Robert Geffner,                       PhD

("Defendant's Motion to Exclude")            (Docket Entry No. 35),            and

Plaintiff's Motion for Leave to File Sur-Reply in Opposition to

Defendant's Motion for Final Summary Judgment ("Plaintiff's Motion

to File Sur-Reply") (Docket Entry No. 47).            For the reasons stated

below Plaintiff's Motion to File Sur-Reply, and Defendant's MSJ

will both be granted.      Because the court has been able to rule on

Defendant's      MSJ    without    referencing        Geffner's       testimony,

Defendant's Motion to Exclude will be denied as moot.


      Plaintiff's Original Complaint and Jury Demand ("Plaintiff's
      1

Complaint"), Docket Entry No. 1, pp. 16-18 ':II':II 81-92. All page
numbers for docket entries refer to the pagination inserted at the
top of the page by the court's electronic filing system, CM/ECF.
Pursuant to an earlier Memorandum Opinion and Order, Docket Entry
No. 14, plaintiff's claims for violation of civil rights guaranteed
by the Equal Protection Clause of the Fourteenth Amendment to the
United States Constitution under 42 U.S.C. §§ 1983 and 1988 have
been dismissed.
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                         I.   Standard of Review

        Defendant CFISD seeks summary judgment on the claim that

plaintiff has asserted for violation of Title IX of the Education

Act of 1972, 20 U.S.C. § 1681.       Summary judgment is authorized if

the movant establishes that there is no genuine dispute about any

material fact and the law entitles it to judgment.            Fed. R. Civ.

P. 56 (c).    Disputes about material facts are "genuine" if the

evidence is such that a reasonable jury could return a verdict for

the nonmoving party.     Anderson v. Liberty Lobby, Inc., 106 S. Ct.

2505, 2510 (1986).      The Supreme Court has interpreted the plain

language of Rule 56 to mandate the entry of summary judgment "after

adequate time for discovery and upon motion, against a party who

fails to make a showing sufficient to establish the existence of an

element essential to that party's case, and on which that party

will bear the burden of proof at trial."       Celotex Corp. v. Catrett,

106 S. Ct. 2548, 2552 (1986).      A party moving for summary judgment

"must    'demonstrate the absence of a genuine issue of material

fact,' but need not negate the elements of the nonmovant's case."

Little v. Liquid Air Corp., 37 F.3d 1069, 1075 (5th Cir. 1994)

(en bane) (quoting Celotex, 106 S. Ct. at 2553).             If the moving

party meets this burden, the nonmovant must go beyond the pleadings

and show by admissible evidence that facts exist over which there

is a genuine issue for trial.       Id.    Factual controversies are to

be resolved in favor of the nonmovant, "but only when .              . both


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parties have submitted evidence of contradictory facts."             Little,

37 F.3d at 1075.      See also Antoine v. First Student, Inc., 713 F.3d

824, 830      (5th Cir.   2013)   (same).     "[T] he court must draw all

reasonable inferences in favor of the nonmoving party, and it may

not make credibility determinations or weigh the evidence." Reeves

v. Sanderson Plumbing Products, Inc., 120 S. Ct. 2097, 2110 (2000).


                           II.    Undisputed Facts

A.    Teen Dating Violence

      In May of 2007 Texas Governor Perry signed House Bill ("HB")

121 into law mandating that all school districts in Texas adopt and

implement a policy addressing teen dating violence.              The policy

must include (1) a definition of dating violence consistent with

the Texas Family       Code, (2) safety planning, (3) enforcement of

protective orders,        (4) school-based alternatives to protective

orders,       ( 5)   training     for     teachers   and     administrators,

(6) counseling for affected students, and (7) awareness education

for students and parents/guardians.            See   Texas   Education   Code

§ 37.0831.       To assist school districts in meeting these statutory

requirements, a group of non-profits and government                 agencies

created a document entitled, "A Guide to Addressing Dating Violence

in Texas Schools," which outlines a model policy for schools

intended to satisfy the statutory mandate.2


      2
          Exhibit 24 to Plaintiff's Opposition to Defendant's Motion
                                                       (continued...)

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     CFISD is the third largest school district in Texas, with 91

campuses and more than 117,000 students. 3         CFISD policy FFH (LOCAL)

addresses discrimination, harassment, and retaliation involving

students and expressly provides that "[t] he District prohibits

dating violence, as defined by this policy." 4          Policy FFH (LOCAL)

contains reporting procedures for students to follow if they

experience prohibited conduct, and notification that any student

who is dissatisfied with the determination of an investigation may

appeal pursuant to policy FNG         (LOCAL). 5     Information regarding

CFISD's policies is available to students and parents both online

and in the Student Handbook. 6       CFISD also provides annual staff

training on sexual harassment and bullying.7



       •••continued)
     2(

for Final Summary Judgment ("Plaintiff's Opposition"), Docket Entry
No. 42-24, p. 7.
     3
      Declaration of Marney Collins Sims ("Sims Declaration"),
Exhibit 1 to Defendant's MSJ, Docket Entry No. 34-1, p. 2 � 3.
     4
      Policy FFH (LOCAL), p. 1, Exhibit A to Sims Declaration,
Docket Entry No. 34-1, p. 6.
     5
      Sims Declaration, Exhibit 1 to Defendant's MSJ, Docket Entry
No. 34-1, p. 2 �� 4-5 (citing Exhibit B, policy FNG (LOCAL) in
effect during the 2013-2014 school year, Docket Entry No. 34-1,
pp. 13-19).
     6
      Id. � 6 (citing Exhibits C and D, relevant excerpts from the
Student Handbook and Student Code of Conduct, respectively, for the
2013-2014 school year, Docket Entry No. 34-1, pp. 20-104).
     7
      Id. at 3 � 7 (citing Exhibit E, training provided to staff
members during the 2013-2014 school year, Docket Entry No. 34-1,
pp. 105-58; Exhibit F, training on bullying provided at CFISD's
                                                   (continued...)
                                    -4-
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B.    Plaintiff's Relationship with John Doe

      Plaintiff met John Doe ("Doe u ) in 2011 when they were both in

seventh grade at a CFISD middle school. 8          While in middle school

plaintiff and John Doe became "a couple. u 9          As the relationship

developed,      plaintiff's grades fell and she was disciplined at

school for tardiness, truancy, and "inappropriate physical contact

with peer. u 1o      Plaintiff's mother tried to intervene by forbidding

plaintiff from seeing Doe outside of school, and expressing concern

to an assistant principal. 11



C.    Warning Signs

      In 2013 plaintiff and Doe enrolled as freshman at Cypress

Creek High School where their relationship continued. 12           Plaintiff

and Doe were together as much as possible at school; they walked



      7(
       •••continued)
2012 Leadership Conference, Docket Entry No. 34-1, pp. 159-86; and
Exhibit G, training provided at CFISD's 2013 Leadership Conference,
Docket Entry No. 34-1, pp. 187-215).

      Declaration
      8
                    of  Madison  Lynn   Smith   ("Madison  Smith
Declaration ), Exhibit 1 to Plaintiff's Opposition, Docket Entry
            u

No. 42-1, p. 2 � 3.
      9
          Id. � 4.

      Id. at 3 � 11. See also Student - Behavior History, CFISD­
      10

ROE 001034-001035, Exhibit 20 to Plaintiff's Opposition, Docket
Entry No. 42-20, pp. 2-3.
      Declaration
      11
                      of   Lauren  Welch   Smith   ("Lauren  Smith
Declaration u ), Exhibit 2 to Plaintiff's Opposition, Docket Entry
No. 42-2, p. 3 �� 6-7, 12).
      12
           Madison Smith Declaration, Docket Entry No. 42-1, p. 3 � 7.

                                     -5-
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together to every class, and Doe refused to let plaintiff leave him

until        she           hugged   or   kissed   him.       Plaintiff   and    Doe   argued

frequently in the hallways.                     Doe would grab plaintiff's arm if he

thought she was looking at someone else, and he would make her wear

his jacket if he thought her clothing was too revealing. 13                            Early

in the Fall 2013 semester, plaintiff and Doe left school and went

to Doe's house where they had sexual intercourse for the first

time. 14       Subsequently plaintiff and Doe engaged in sexual conduct

on campus,                 including having sexual intercourse            in    stairwells

because stairwells did not have security cameras and were not

consistently patrolled by staff or officers. 15

        In         December         of   2013   plaintiff's     mother   told    assistant

principal Carol Gibson that plaintiff was having academic and

emotional difficulties because of an unhealthy relationship with

Doe.         She told Gibson that Doe was controlling, emotionally and

possibly physically abusive, and she asked Gibson what the school

could do about the situation. 16                         Subsequently,   when Gibson saw




        13
             Id.    <:II   8.
        14
             Id.    <:II   14.
        15
             Id. <:!Ii 12 and 15.

       Lauren Smith Declaration, Docket Entry No. 42-2, p. 4 <:II 14.
        16

See also Oral and Videotaped Deposition of Carol Alexander
( formerly Carol Gibson, ( "Gibson Deposition") ) , pp. 2 5: 9-26: 17,
Exhibit 7 to Plaintiff's Opposition, Docket Entry No. 42-7, pp. 10-
11.
                                                  -6-
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plaintiff together with Doe,           she reminded plaintiff that her

parents did not want her seeing him. 17

     During winter break in late December of 2013, after becoming

upset with her mother because she would not let her speak with Doe,

plaintiff cut herself on her arms.            Concerned for plaintiff's

mental health, her mother took plaintiff to Cypress Creek Hospital

where plaintiff told doctors that she cut herself to make her

mother feel bad for keeping her from Doe. 18           Plaintiff's mother

notified plaintiff's softball coach that she would miss practice

because of the cutting incident and shared her concern about Doe,

but did not share that plaintiff had cut herself intentionally. 19

     On March 4,          2014,   plaintiff's mother met with assistant

principals,     Gibson and Rashad Godbolt,       to discuss plaintiff's

academic and behavior issues.          Plaintiff was present for part of
the meeting and while she was present her mother took away her cell
phone.     Expressing concern that plaintiff's issues were caused by

her abusive relationship with Doe, 20 plaintiff's mother asked for

a schedule change to ensure that plaintiff and Doe would not have

any classes together, but was told that such a change could not be




     17 See also Gibson Deposition, pp. 26: 18-27: 4, Exhibit 7 to
Plaintiff's Opposition, Docket Entry No. 42-7, pp. 11-12.
      Lauren Smith Declaration, Docket Entry No. 42-2, p. 4 � 13.
     18

See also Madison Smith Declaration, Exhibit 1 to Plaintiff's
Opposition, Docket Entry No. 42-1, p. 3 � 10, and Medical Records,
Exhibit 18 to Plaintiff's Opposition, Docket Entry NO. 42-18.
     19
          Lauren Smith Declaration, Docket Entry No. 42-2, p. 4 � 14.
     20
          Id. �� 15-16.
                                       -7-
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made.         The only outcome of the meeting was that plaintiff was

required to attend after school tutorials.21

        On Friday, March 7, 2014, when plaintiff and Doe were together

after school waiting for buses,           Doe rubbed plaintiff's stomach

commenting that her belly felt bigger and that he thought she was

pregnant.          Plaintiff responded, "Don't say that." 22



D.      Sexual Assault

        On March 10, 2014, Doe met plaintiff outside her last class

and the two of them walked down the hall together at dismissal

time,        which was 2:30 p.m.      Plaintiff went to an after school

tutorial for math but only stayed about 15 minutes, after which she

left to meet Doe who was waiting for her in the hallway.           Plaintiff

and Doe went to Stairwell #2 in one the Freshman area hallways

where they engaged in sexual activity.               Doe put a hand down

plaintiff's pants, digitally penetrated her, and then pressed his

entire fist into her vagina lifting her off the floor.              When Doe

removed his fist, plaintiff began bleeding profusely.              They left

the stairwell on the second floor and walked together across the

campus to bathrooms near the athletic area where plaintiff threw

away an undergarment that was soaked in blood.           Plaintiff and Doe



        21
             Id. <j[ 17.

        22   Madison Smith Declaration, Docket Entry No. 42-1, p. 4 � 17.
                                       -8-
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then walked to the front office area where plaintiff used Doe's

phone to call for a ride home.23

     Plaintiff's grandfather came to take her home.            Because she

was still bleeding, plaintiff sat on her binder to protect his car

seat.24     Telling her family that she was having "female issues,"

plaintiff went to her room, showered, and fell asleep.              Several

hours later plaintiff awoke in pain, admitted to her mother that

Doe had assaulted her, and went to the hospital emergency room. At
the hospital, plaintiff's mother demanded that the authorities be

contacted.25

     The hospital contacted the CFISD Police Department ("CFISD­

PD"), and CFISD officers respond to the call, took a report, and

sent it to the Harris County Sheriff's Office ("HCSO"), but did not

follow up with the HCSO, investigate the assault, or communicate to

school administrators about it. 26          Following an investigation

conducted by the HCSO, the Harris County District Attorney's Office

refused to accept charges against Doe because it determined the act

was consensual between plaintiff and Doe.27

     23
          Id. at 5   <JI   18.
      Declaration of Gale Welch ("Gale Welch Declaration"), Exhibit
     24

4 to Plaintiff's Opposition, Docket Entry No. 42-4, p. 3 <JI 9.
      Madison Smith Declaration, Docket Entry No. 42-1, p. 5 <][<JI 20-
     25

21; Lauren Smith Declaration, Docket Entry No. 41-2, p. 5 <][<JI 19-21.
     26
       Oral and Videotaped Deposition of Chanta Mitchell, pp. 27: 10-
44: 10, Exhibit 9 to Plaintiff's Opposition, Docket Entry No. 42-9,
pp. 8-23.
     27
          HCSO Records, Exhibit 13 to Defendants' MSJ, Docket Entry No.
                                                         (continued...)
                                    -9-
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       Medical records for plaintiff's visit to the emergency room

indicate a preliminary diagnosis of "Sexual Assault Child. " 28

Plaintiff underwent a SANE (Sexual Assault Nurse Examiner) exam and

her    injuries         were    photographed. 29      Plaintiff    suffered     severe

internal and external injuries from the assault and underwent the

first of two surgeries in the early morning hours of March 11,

2014. 30      While waiting for surgery, plaintiff learned that she was

five weeks pregnant. 31            Struggling to understand why Doe injured

plaintiff, plaintiff's mother concluded that he did it to cause her

to miscarry. 32           A medical examination two days later revealed

additional injuries that required a second surgery after which

plaintiff remained hospitalized for nearly a week. 33                    Plaintiff's

hospitalization           was    followed   by     weeks   of   wound   care,   and   a

procedure to terminate the pregnancy. 34



       ( ••• continued)
       27

 Docket Entry No. 34-13.

      Medical Records, Exhibit 17 to Plaintiff's Opposition, Docket
       28

Entry No. 42-17, p. 27.

      Medical Records, Exhibit 19 to Plaintiff's Opposition, Docket
       29

Entry No. 42-19.

      Madison Smith Declaration, Docket Entry No. 42-1, p. 6 � 23;
       30

Lauren Smith Declaration, Docket Entry No. 42-2, p. 5 � 22.

      Madison Smith Declaration, Docket Entry No. 42-1, p. 5 � 22;
       31

Lauren Smith Declaration, Docket Entry No. 42-2, p. 5 � 23.
       32
            Lauren Smith Declaration, Docket Entry No. 42-2, p. 5 � 25.
       33
            Madison Smith Declaration, Docket Entry No. 42-1, p. 6 �� 25-
26.
       34
            Id.   ��   27-28.

                                            -10-
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E.        CFISD's Response to Plaintiff's Report of Sexual Assault

          Plaintiff's mother notified Assistant Principal Gibson of the

assault the morning after it occurred. 35          Plaintiff's grandmother

also spoke with Gibson and described to her the seriousness of

plaintiff's injuries. 36        Several days later plaintiff's mother and

grandfather met with Gibson to discuss the assault.              Plaintiff's

mother asked if there was a video of the stairwell and, if so,

asked to see it.         Gibson told plaintiff's mother that she would not

be able to see any video.          Focused on the fact that plaintiff went

willingly into the stairwell with Doe, Gibson concluded that the

assault was merely a consensual act that had gone too far. 37 Gibson

told plaintiff's mother and grandfather, "If we punish him, we have

to punish her. "38

          No one provided plaintiff or her mother a written report of

any findings,           made plaintiff or her mother aware of CFISD's


          35
               Lauren Smith Declaration,   Docket Entry No.   42-2,   pp.   5-6
'II 26.

      Declaration of Judy Welch ( "Judy Welch Declaration") , Exhibit
          36
3 to Plaintiff's Opposition, Docket Entry No. 42-3, p. 3 'II 11.

      Answer to Interrogatory No. 4, Defendant's Objections and
          37

Responses to Plaintiff's First Set of Interrogatories, Exhibit 22
to Plaintiff's Opposition, Docket Entry No. 42-22, p. 4. See also
Gibson Deposition, pp. 58:24-59:17, Exhibit 7 to Plaintiff's
Opposition, Docket Entry No. 42-7, pp. 40-41 (Gibson relied only on
the statements that she had in reaching her conclusion "early on"
that it was a consensual act that had gone too far).
      Lauren Smith Declaration, Docket Entry No. 42-2, p. 6 'II 28;
          38

Gale Welch Declaration, Exhibit 4 to Plaintiff's Opposition, Docket
Entry No. 42-4, pp. 3-4 '!I'll 12-13.

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policies or complaint procedures,               or notified plaintiff or her

mother of the right to file a complaint or appeal                    Gibson's

decision. Nor were plaintiff or her mother ever notified that they

had a right to file a complaint with the United States Department

of Education's Office for Civil Rights. 39                  CFISD offered no

accommodations to the plaintiff and took no measures to protect her

from    harassment         and   retaliation.     Plaintiff's   mother   sought

assistance in the form of counseling from plaintiff's counselor,

Deadrine Rhodes, but was told that the school "does not do that." 40

Plaintiff missed days of instruction and struggled academically.

Even though the school designated plaintiff as "homebound," she

received only weekly assignments delivered by a coach and did not

receive any homebound instruction. 41            Plaintiff failed classes that

spring, and earned only 4.5 out of 7 credits. 42

       When plaintiff returned to Cypress Creek for the 2014-2015

school year she did not have any classes with Doe, but he remained

at the school, and she saw him frequently. 43 About a month into the

school year some of Doe's friends accused her of falsely claiming




       39
            Lauren Smith Declaration, Docket Entry No. 42-2, p. 6 � 29.
       40
            Id. at 7 � 34.
       41
            Id. � 35.
       42
            Id. � 36.
       43
            Id. ':lf 38.

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that he raped her and trying to get him arrested.44             At some point

Doe exchanged angry words with plaintiff following an altercation

he had with her mother's boyfriend at a grocery store.               Doe told

plaintiff he had a            "tool"   for her mother's    boyfriend,   which

plaintiff understood as a threat to use a gun. 45                 Plaintiff's

English teacher pulled her aside once and told her that she knew

plaintiff had failed English the year before because she had

dropped out, 46 and plaintiff was unable to play volleyball or

softball because of her poor grades. 47



F.      Impact on Plaintiff's Education

        In February of 2015 plaintiff withdrew from school for about

a week, with plans to move to Indiana to live with her father to

get away from Cypress Creek High School.              But the plans did not

work out and she was forced to re-enroll at Cypress Creek. 48

        On     June   30,   2015,   plaintiff   intentionally   overdosed     on

Benadryl after enduring harassment that included a social media

post of a photograph of a dead fetus "tagged" to plaintiff, posts


        44
             Madison Smith Declaration, Docket Entry No. 42-1, p. 6 � 30.
        45
             Id. � 31.

      Madison Smith Deposition, pp. 105:8-106:4, Exhibit 5 to
        46

Plaintiff's Opposition, Docket Entry No. 42-5, pp. 69-70.
        47
             Madison Smith Declaration, Docket Entry No. 42-1, p. 6 � 32.
        48
             Id.; Lauren Smith Declaration, Docket Entry No. 41-2, p. 7
� 38.

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calling plaintiff a "baby killer,n and posts encouraging plaintiff

to kill herself. 49

       Subsequently,       plaintiff went to live with her father in

Indiana and enrolled there for the 2015-2016 school year.                But in

the spring of 2016, missing her mother, grandparents, and younger

siblings, plaintiff returned to Houston and to Cypress Creek High

School.         Plaintiff's mother met with school counselor,             Karen

Clarkson, at least three times in an effort to have plaintiff's

class schedule arranged so that she would not cross paths with Doe.

Clarkson told plaintiff's mother that she would do what she could,

but that the past could not be changed. 50          After only a few weeks,

plaintiff        was   overwhelmed   and   unable   to   continue   school. 51

Plaintiff's mother met with school personnel who encouraged her to

withdraw plaintiff from school and to state on the withdrawal form

that plaintiff would be home schooled to protect herself from

truancy charges. 52       On April 13, 2016, at 1 7 years of age, plaintiff

withdrew during the spring semester of her junior year and never

returned to high school. 53



       49
            Madison Smith Declaration, Docket Entry No. 42-1, p. 7        CJ[   33.
       50
            Lauren Smith Declaration, Docket Entry No. 41-2, p. 8         CJ[   41.
       51
            Madison Smith Declaration, Docket Entry No. 40-1, p. 7 '1['1[ 34-
35.
       52
            Lauren Smith Declaration, Docket Entry No. 41-2, p. 8         CJ[   42.
       53
            Madison Smith Declaration, Docket Entry No. 40-1, p. 7        CJ[   35.

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            III. Plaintiff's Motion for Leave to File Sur-Reply

       Asserting        that     "[i]n   its     Reply,   Defendant    cites     new

authorities, advances new arguments and relies on 'new' facts," 54

plaintiff moves the court for leave to file a sur-reply because

"[t]he       interest     of   justice   requires    Plaintiff   be    allowed    to

respond." 55      Asserting that plaintiff "has not shown 'exceptional

or extraordinary circumstances that warrant a surreply,'" defendant

argues that "her motion for leave should be denied." 56                    Although

the    Fifth     Circuit       has   characterized    sur-replies     as    "heavily

disfavored," Warrior Energy Services Corp. v. ATP Titan M/V, 551 F.

App'x 749, 751 n. 2 (5th Cir. 2014) (per curiam), defendant admits

that its reply "cites some cases that were not cited in                        [its]

original summary judgment motion, and . . . respond[s] to specific

arguments raised in [plaintiff]'s response brief." 57                      Moreover,

defendant does not argue that granting plaintiff's motion would

cause it any prejudice.              Accordingly, to ensure that both parties

are fully heard on the issues, the court concludes that plaintiff's

motion for leave to file sur-reply should be granted.



      Plaintiff's Motion for Leave to File Sur-Reply in Opposition
       54

to Defendant's Motion for Final Summary Judgment, Docket Entry
No. 47, p. 2.
       5s Id.

      Defendant's Response in Opposition to Plaintiff's Motion for
       56

Leave to File Sur-Reply, Docket Entry No. 48, p. 4.
       57
            Id. at 3-4.

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                                  IV. Analysis

     CFISD argues that it is entitled to summary                  judgment on

plaintiff's Title IX claims because it did not have any reason to

know that Doe posed a substantial risk of sexually assaulting

plaintiff, because it did not respond to plaintiff's assault with

deliberate indifference, 58 because plaintiff cannot establish a

Title IX violation based on any alleged post-assault harassment, 59

and because the heightened risk theory of liability does not apply

to the facts of this case. 60         Asserting that "[t]his case arises

from CFISD's deliberate indifference to its duties under Title IX

and systemic failure to address sexual harassment and sexual

violence      on   its    campuses, " 61    plaintiff    argues   that   CFISD

intentionally discriminated against her in violation of Title IX

because     ( 1) CFISD's policies,         practices,   and failure to train

students and staff to recognize, report, and respond to dating

violence and sexual assault created a heightened risk that she

would be assaulted, (2) CFISD acted with deliberate indifference to

the known risk of dating violence and sexual assault when it

created a high school campus culture in which sexual misconduct was


     58
          Defendant's MSJ, Docket Entry No. 33, pp. 22-29.
     59
          Id. at 29-31.
     60
          Id. at 32.

      Plaintiff's Opposition to Defendant's Motion for Final
     61

Summary Judgment ("Plaintiff's Opposition"), Docket Entry No. 41,
p. 6.

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rampant,       ignored clear warning signs and dismissed pleas from

plaintiff's mother that her daughter was in danger, and (3) CFISD's
actions in response to plaintiff's report of sexual assault were

clearly unreasonable in light of the known circumstances because

its     administrators'         investigation   was     tantamount     to      no

investigation at all, its actions made plaintiff vulnerable to
future harassment,          and as a result,    plaintiff dropped out of
school. 62 Defendant replies that plaintiff's pre-assault heightened

risk claim fails            because the heightened     risk theory is not

applicable to the facts of this case,                   and,   alternatively,

plaintiff has no evidence that an official policy caused her
injuries.63       Defendant also argues that plaintiff's post-assault

claims fail because it did not respond with deliberate indifference

either to her complaint of sexual assault or to            any known acts of

post-assault       harassment. 64     Plaintiff's     surreply   argues     that

defendant's reply exposes a summary judgment record laced with

contradictions of fact, and that the summary judgment evidence
supports a finding for her on each of the four factors that courts

use to analyze Title IX pre-assault heightened risk claims. 65


       62
            Id. at 6 and 7.
      Defendant's Reply in Support of Motion for Final Summary
       63

Judgment ("Defendant's Reply"), Docket Entry No. 45, pp. 6-20.
       64
            Id. at 20-28.
       65
            Plaintiff's Surreply in Opposition to Defendant's Motion for
                                                          (continued... )
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A.    Applicable Law

      Apart from exceptions not applicable to the facts of this

case, Title IX of the Education Amendments of 1972 ("Title IX")

prohibits discrimination on the basis of sex in all federally­

funded educational programs by providing that

      [n]o person in the United States shall, on the basis of
      sex, be excluded from participation in, be denied the
      benefits of, or be subjected to discrimination under any
      education program or activity receiving Federal financial
      assistance.

20 U.S.C. § 1681(a).      "A school that receives federal funding may

be held liable for student-on-student sexual harassment."             I.L. v.

Houston Independent School District, 776 F. App'x 839, 842 (5th

Cir. 2019) (citing Davis v. Monroe County Board of Education, 119

S. Ct. 1661, 1669 (1999), and Sanches v. Carrollton-Farmers Branch

Independent School District, 647 F.3d 156, 165 (5th Cir. 2011)).

To prove such a claim, a plaintiff must show that

      the district (1) had actual knowledge of the harassment,
      (2) the harasser was under the district's control,
      (3) the harassment was based on the victim's sex, (4) the
      harassment was so severe, pervasive, and objectively
      offensive that it effectively barred the victim's access
      to an educational opportunity or benefit, and (5) the
      district was deliberately indifferent to the harassment.

Id. (quoting Doe v. Columbia-Brazoria Independent School District,

856 F.3d 681, 689 (5th Cir. 2017), and Sanches, 647 F.3d at 165).

The Supreme Court has analogized official policy liability under

Title IX to municipal liability for a policy or custom under 42


      65 (
          continued)
           •••
Final Summary Judgment         ("Plaintiff's Surreply"),       Docket   Entry
No. 4 7.

                                    -18-
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u.s.c.   § 1983.    See Gebser v. Lago Vista            Independent School

District, 118 S. Ct. 1989, 1999 (1998) (distinguishing Title IX

claims based on an official policy from those seeking to hold an

institution liable for the discriminatory acts of an individual).

     "Deliberate indifference         under    Title   IX   means   that    the

school's response or lack of response was 'clearly unreasonable in

light of the known circumstances.'"            Lk, 776 F. App'x at 842

(quoting Sanches, 647 F.3d at 167).           Title IX defendants may only

be held liable in damages for their own intentional acts.               Davis

119 S. Ct. at 1670-71 (citing Gebser, 118 S. Ct. at 1999-2000, for

holding that federal funding recipients could be held liable in

damages only when their own deliberate indifference effectively

caused the discrimination at issue).          "Neither negligence nor mere

unreasonableness is enough."         Lk, 776 F. App'x at 842 (quoting

Sanches,   647   F.3d   at   167).     "Schools    need     not   'remedy   the

harassment or accede to a parent's remedial demands,' and 'courts

should refrain from second-guessing the disciplinary decisions made

by school administrators.'"       Id. (quoting Sanches, 647 F.3d at 167-

68). See also Davis, 119 S. Ct. at 1673-74 (schools need not purge

themselves of all sexual harassment or expel every student accused

of sexual misconduct).       "There is no reason why courts, on a motion

    . for summary judgment             could not identify a response as

not clearly unreasonably as a matter of law."          Sanches, 647 F.3d at

168 (quoting Davis, 119 S. Ct. at 1674).

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B.      Application of the Law to the Undisputed Facts

            Plaintiff argues that she has asserted two types of Title IX

claims: (1) a pre-assault claim for creating a heightened risk that

she     would         be   assaulted; 66   and   (2)   a   post-assault     claims    for

responding            with    deliberate    indifference       to   her   assault     and

subsequent harassment.67



            1.      Plaintiff Fails to Raise Genuine Issues of Material Fact
                    as to Her Pre-Assault Heightened Risk Claim

            Plaintiff alleges that CFISD is liable under Title IX for her

pre-assault claim by alleging that "[a] s a result of CFISD's

deliberate indifference, Plaintiff was subjected to a heightened

risk that she would be a victim of dating violence and sexual

assault.              This   risk   materialized       when   she   was   assaulted    on

campus."68            Citing C.T. v. Liberal School District, 562 F.Supp.2d

1324,            1339-40   (D. Kan. 2008), defendant argues that plaintiff's

pre-assault heightened risk claim fails as a matter of law because

this case does not involve the sort of systemic problems discussed

in cases that have recognized such a cause of action.69                      Observing


      Plaintiff's Opposition, Docket Entry No. 41, pp. 18-26;
            66

Plaintiff's Sur-reply in Opposition to Defendant's Motion for Final
Summary Judgment ("Plaintiff's Sur-reply"), Docket Entry No. 47,
pp. 11-21.

      Plaintiff' s Opposition, Docket Entry No. 41, pp. 26-30;
            67

Plaintiff's Sur-reply, Docket Entry No. 47, pp. 21-35.
            68
                 Plaintiff's Original Complaint, Docket Entry No. 1, p. 18
<Jr   90.
            69
                 Defendant's MSJ,    Docket Entry No. 33,           p. 32.    See also
                                                                        (continued...)

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that Title IX claims based on an alleged deliberate-indifference-

to-obvious-need-for-training         have   only    been   recognized       in

circumstances      where   a   federal   funding   recipient   sanctions     a

specific program that,         without proper control,     would encourage

sexual harassment and abuse, the C.T. court held that in such a

case, "the failure amounts to an official policy of deliberate

indifference to providing adequate training or guidance that is

obviously necessary for implementation of the program."               Id.

Asserting that this case does not involve any allegations of sexual

misconduct by anyone other than Doe, defendant argues that "this

case is properly evaluated under the traditional Davis standard." 70

     Citing Karasek v. Regents of the University of California, 948

F.3d 1150, amended and superceded upon denial of petitions for

rehearing and rehearing en bane, 956 F.3d 1093 (9th Cir. 2020),

plaintiff argues that "courts do not limit the heightened risk

analysis to allegations of a specific problem in a specific

program." 71    Citing Simpson v. University of Colorado Boulder, 500

F.3d 1170 (10th Cir. 2007), plaintiff argues that


        ( •••continued)
      69

Defendant's Reply in Support of Final Motion for Summary Judgment
 ("Defendant's Reply"), Docket Entry No. 45, p. 6 n. 1 ("[T]he
District's summary judgment motion argued - correctly, as shown
below - that the heightened risk analysis only applies, if at all,
in cases where the defendant had actual knowledge of widespread,
systemic problems (i.e., actual notice of specific prior incidents
of sexual misconduct), and had an official policy of responding
with deliberate indifference, thereby creating a heightened risk of
sexual assault.").
     10Id.


     71    Plaintiff's Opposition, Docket Entry No. 41, p. 20.

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     [a] funding recipient can be said to have intentionally
     acted in clear violation of Title IX when the violation
     is caused by official policy, which may be a policy of
     deliberate indifference to providing adequate training or
     guidance that is obviously necessary for implementation
     of a specific program or policy of the recipient.72

Citing Does 12-15, et al. v. Baylor University, 336 F.Supp.3d 763

(W.D. Tex. 2018), and Does 1-10 v. Baylor University, 240 F.Supp.3d

646 (W.D. Tex. 2017), plaintiff argues that courts within the Fifth

Circuit have recognized the viability of pre-assault heightened

risk claims. 73   Plaintiff argues that the evidence in this case

supports her claims for heightened risk based on both an official

policy of discrimination and pre-assault deliberate indifference.74

     Defendant replies that Karasek,         Simpson,    and other cases

applying the heightened risk theory of Title IX liability are

distinguishable     from   this   case    because   they    all   involved

allegations of systemic failures on the part of the defendants to

reasonably respond to multiple known acts of sexual misconduct.

Asserting that this case involves a single incident between two

high school students who were otherwise engaged in consensual

sexual activity at the time of the assault, defendant argues that

the heightened risk theory of liability is inapplicable, 75 and


     72   Id.
     73Id. at 19.

     74Id. at 18.     See also Plaintiff's Surreply,         Docket Entry
No. 47, p. 12.
     75Defendant's Reply in Support of Motion for Final Summary
                                                  (continued... )
                                   -22-
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assuming that it is applicable, that plaintiff has no evidence that

an official policy caused her injuries.76           In a Supplemental Reply

defendant cites the Fifth Circuit's recent opinion in Poloceno v.

Dallas Independent School District, 826 F. App'x 359, 363 (5th Cir.

2020), for the statement that "[w] e have never recognized or

adopted     a   Title   IX   theory   of    liability    based   on   a   general

'heightened risk' of sex discrimination, and we decline to do so." 77

Plaintiff argues that Poloceno is inapposite.78            Because the claims

at issue in Poloceno did not stem from sexual harassment or assault

but, instead, from excessive physical exercise, and the Fifth

Circuit explained its decision not to recognize the heightened risk

theory in that case by stating that "the cases from our sister

circuits that recognize the 'heightened risk' analysis limit this

theory of liability to contexts in which students committed sexual

assault on other students, circumstances not present here," id.,

the court concludes that the Fifth Circuit has not foreclosed the

possibility      of   recognizing     the   heightened    risk   theory    in   an

appropriate case.       But this is not an appropriate case.


       ( •••continued)
     75

Judgment, Docket Entry No. 45, pp. 6-14.
     76
          Id. at 14-27.
     77
      Defendant's Supplemental Reply in Support of Motion for Final
Summary Judgment, Docket Entry No. 51, p. 1.
     78
      Plaintiffs' Response to Defendant's Supplemental Reply in
Support of Motion for Final Summary Judgment Based on New
Authority, Docket Entry No. 52.

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             (a)    Law Applicable to Title IX Heightened Risk Claims

      After analyzing the Supreme Court's opinions in              Gebser, 118

S. Ct. at 1989, and Davis, 119 S. Ct. 1661, both the Tenth Circuit

in Simpson, 500 F.3d at 1170, and the Ninth Circuit in Karasek, 956

F.3d at 1114, have recognized the viability of Title IX claims

based on allegations that an official policy heightened the risk

that plaintiffs would be sexually harassed or assaulted.

      In Simpson a group of female plaintiffs alleged that the

University     of    Colorado   Boulder's    ("UCB")   recruiting      efforts

included showing football recruits a "good time" by pairing them

with female "Ambassadors," and promising at least some recruits an

opportunity to have sex.         500 F.3d at 1173.       Following a prior

assault, but before the plaintiffs were assaulted, a local district

attorney had met with UCB officials to warn them of the risk that

sexual   assault     would   occur   if   recruiting   was   not    adequately

supervised.        The district attorney told the officials that UCB

needed to implement sexual-assault-prevention training for football

players, and needed to develop policies for supervising recruits.

Id.   But following the meeting, UCB officials did not heed the

warning and "did little to change [UCB's] policies or training."

Id.   Instead, "[t] he coaching staff .            [although] informed of

sexual harassment and assault by players,                responded in ways

that were more likely to encourage than eliminate such misconduct."

Id. at 1173-74.         Describing the conduct by UCB officials as


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"sanction[ing], support[ing], even fund[ing], a program (showing

recruits    a   'good    time')   that,   without   proper   control,   would

encourage young men to engage in opprobrious acts[,]" id. at 1177,

the Tenth Circuit concluded that

        a funding recipient can be said to have intentionally
        acted in clear violation of Title IX, Davis, [119 S. Ct.
        at 1671], when the violation is caused by official
        policy, which may be a policy of deliberate indifference
        to providing adequate training or guidance that is
        obviously necessary for implementation of a specific
        program or policy of the recipient."

Id. at 1178.

        In Karasek three plaintiffs asserted an official policy claim

based on allegations that the defendant university intentionally

avoided     Title   IX   reporting   requirements    by   funneling     sexual

harassment reports through an informal investigation process.               The

Ninth Circuit considered the appropriate elements of such an

official policy claim and citing Davis, 119 S. Ct. at 1674-75, held

that:

      [A] pre-assault claim should survive a motion to dismiss
if the plaintiff plausibly alleges that (1) a school maintained a
policy of deliberate indifference to reports of sexual misconduct,
(2) which created a heightened risk of sexual harassment that was
known or obvious, (3) in a context subject to the school's control,
and (4) as a result, the plaintiff suffered harassment that was "so
severe, pervasive, and objectively offensive that it can be said to
[have] deprive [d) the [plaintiff] of access to the educational
opportunities or benefits provided by the school.

956 F.3d at 1112.

        Karasek requires the heightened risk to be known or obvious,

but does not require the defendant school to have actual knowledge

of a particularized risk. Other courts, however, require defendant
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schools to have actual knowledge of a particularized risk.              For

example,   district   court cases     in   which   Title   IX   pre-assault

heightened risk claims have survived dismissal typically involve

allegations that plaintiffs were sexually assaulted, and that the

defendant schools knew about the risk of sexual assault from

previous assaults but failed to take action to abate the risk. See

�, Does I-VIII v. University of Tennessee, 186 F.Supp.3d 788,

792, 794, 804-08 (M.D. Tenn. 2016) (female plaintiffs were sexually

assaulted by male student athletes,         the university had actual

knowledge of previous sexual assaults, but had been covering them

up so the athletes could continue to compete); Roskin-Frazee v.

Columbia University, No. 17 Civ. 2032 (GBD), 2018 WL 6523721, at *5

(S.D.N.Y. November 26, 2018) ("Pre-assault cases have found that

universities may be held responsible for pre-assault deliberate

indifference when they have 'actual knowledge of sexual assault(s)

committed in a particular context or program or by a particular

perpetrator or perpetrators.'") (citation omitted).

     The cases within the Fifth Circuit that plaintiff cites as

examples of cases that have recognized Title IX pre-assault claims

are also based on allegations that the defendant university failed

to make any change in the sexually hostile environment of its

football program even after receiving numerous, detailed reports of

sexual assault by football players. See Does 12-15, 336 F.Supp.3d

at 782-83 ("Plaintiffs allege that Baylor, 'its staff, and highest


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officers,' . . . with knowledge of numerous and detailed reports of

sexual assault,              'maintained a set of policies, procedures,

and     customs               that   were       implemented      in    a     sexually

discriminatory manner,' and 'permitted a campus condition rife with

sexual assault,'              that 'substantially increased Plaintiffs'

chances of being sexually assaulted.'                    Additionally, despite

being informed of multiple sexual assaults between 2008 and 2011,

Baylor reported to the U.S. Department of Education that no such

assaults took place on its campus during that period.                           These

alleged facts, construed as true, 'raise a right to relief above

the     speculative    level'    that     Baylor's      policy    or       custom    of

inadequately handling and even discouraging reports of peer sexual

assault constituted an official policy of discrimination that

created a heightened risk of sexual assault, thereby inflicting the

injury of which Plaintiffs complain."); Does 1-10, 240 F.Supp.3d at

662 ("Plaintiffs allege Baylor and its staff repeatedly misinformed

victims of sexual assault as to their rights under Title IX,

failed     to   investigate     reported       sexual   assaults,                   and

discouraged those who reported sexual assaults from naming their

assailants or otherwise coming forward. . .              Additionally, despite

being informed of multiple sexual assaults between 2008 and 2011,

the university reported to the U.S. Department of Education that no

such assaults took place on its campus during that period.

These alleged facts, if construed as true, could allow a jury to


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infer that Baylor's policy or custom of inadequately handling and

even    discouraging    reports   of   peer    sexual    assault   created   a

heightened risk of sexual assault, thereby inflicting the injury of

which the Plaintiffs complain.").



            (b)   Application of the Karasek Factors to the Summary
                  Judgment Evidence

       Assuming   without   deciding    that    the     Fifth   Circuit   would

recognize plaintiff's ability to assert a Title IX claim based on

her allegations that CFISD maintained an official policy that

created a heightened risk that she would be sexually assaulted, and

would adopt the four factors articulated in Karasek for analyzing

such claims, the court concludes that CFISD is entitled to summary

judgment on plaintiff's pre-assault heightened risk claim because

plaintiff has failed to cite evidence capable of raising a genuine

issue of material fact as to three of Karasek's four factors. 79



                  (1)   Plaintiff Fails to Raise a Genuine Issue of
                        Material Fact as to Whether CFISD Maintained a
                        Policy of Deliberate Indifference to Reports
                        of Sexual Misconduct

       As evidence that CFISD maintained a policy of deliberate

indifference to reports of sexual misconduct in violation of

Title IX, plaintiff cites responses that CFISD's witnesses provided



      There is no dispute that the incidents at issue occurred in
       79

a context subject to CFISD's control. Karasek, 956 F.3d at 1112.

                                   -28-
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to the question, "What is Title IX?"           Plaintiff argues that the

responses to this question by CFISD witnesses show that school

counselors, assistant principals, four CFISD police officers, and

CFISD's Title IX coordinator all lacked a fundamental understanding

of Title IX and the significance of their roles in ensuring CFISD's

compliance with it. 80    But as defendant argues,

     Title IX liability does not turn on whether lay witnesses
     are able to provide legal definitions during their
     depositions, but instead, turns on what information the
     defendant actually had, and what it did (or did not do)
     with that information.    Whether witnesses are able to
     attach legal labels or definitions to their duties,
     responsibilities, or actions is irrelevant. 81

     Citing     the   deposition   testimony   of   Gibson   and   Godbolt,

plaintiff argues that despite the state mandate to provide training

to staff and awareness education to students and parents regarding

dating violence, Cypress Creek High School's assistant principals

admitted that no training or information regarding dating violence

was provided to students or staff, and that the Student Handbook

contained no reference to dating violence. 82       Plaintiff argues this

evidence shows that




     80
          Plaintiff's Opposition, Docket Entry No. 41, pp. 21-22.
     81
          Defendant's Reply, Docket Entry No. 45, p. 17.
      Plaintiff's Opposition, Docket Entry No. 41, pp. 22-23
     82

(citing Gibson Deposition, p. 99:1-14, Exhibit 7 to Plaintiff's
Opposition, Docket Entry No. 42-7, p. 75; and Oral and Videotaped
Deposition of Rashad Godbolt ("Godbolt Deposition"), pp. 71:21-
72:1, Exhibit 8 to Plaintiff's Opposition, Docket Entry No. 42-8,
pp. 44-45).

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       [s]even years after the mandate and despite being
       provided a road map and a tool kit from the Texas School
       Safety Center to ensure successful implementation of FFH
       (LOCAL) , CFISD intentionally did nothing.      The CFISD
       Board of Trustees approved the dating violence policy but
       the District never took a single step toward implementing
       it. 83

       But the evidence does not support plaintiff's argument.                 The

assistant principals did not admit that no training or information

about dating violence was provided to CFISD students or staff, and

undisputed evidence establishes that CFISD not only adopted, but

also disseminated policies prohibiting sex-based discrimination,

including dating violence to students, parents, and staff. 84                  The

question       posed   to   Gibson     was   not    whether   any   training   or

information was provided to staff or students, but whether she was

aware of any publications addressing dating violence other than

CFISD's policies.85         Godbolt was asked if dating violence was

referenced in the Student Handbook, but was not asked about Policy

FFH,   which is the policy that addresses sexual harassment and

dating violence and is referenced in both the Student Handbook and

the Student Code of Conduct. 86         Policy FFH (LCOAL) not only defines


       83
            Plaintiff's Opposition, Docket Entry No. 41, p. 23.

      See Sims Declaration, Exhibit 1 to Defendant's MSJ, Docket
       84

Entry No. 33-1, p. 2 �� 4-5 (citing Exhibit A, policy FFH (LOCAL)).
      Gibson Deposition, p. 99:1-14, Exhibit 7 to Plaintiff's
       85

Opposition, Docket Entry No. 41-7, p. 75.
       86
            Godbolt Deposition,   p.    71: 3-20,   Exhibit 8 to Plaintiff's
                                                               (continued...)
                                        -30-
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and prohibits dating violence as a type of harassment, but also

gives examples of dating violence. 87     Moreover, undisputed evidence

establishes that CFISD has adopted           and disseminated policies

prohibiting     sex-based   discrimination     and    harassment     against

students, including dating violence, 88 made information regarding

its policies available both in the Student Handbook and online, 89

and provided annual staff training on sexual harassment. 90

     Citing     the   deposition   testimony     of   CFISD's      Title     IX

Coordinator, Deborah Stewart, plaintiff argues that CFISD has no

discipline code for dating violence or sexual harassment,                  that

sexual misconduct is encompassed in a broader discipline category

that includes students pushing each other in the hallway,                  that

determining whether an action involved sexual misconduct requires


          continued)
     86 ( •••

Opposition, Docket Entry No. 41-8, p. 44.

      See Policy FFH, Exhibit A to Sims Declaration, Docket Entry
     87

No. 34-1, pp. 6 (prohibiting dating violence), and 7 (defining and
giving examples of dating violence).

      See Sims Declaration, Exhibit 1 to Defendant's MSJ, Docket
     88

Entry No. 34-1, p. 4 ii 4-5.

      Id. i 6. See also CFSID Student Handbook 2013-2014, pp. 41-
     89

42, Exhibit 1-C to Defendant's MSJ, Docket Entry No. 34-1, pp. 40-
41).
      Id. i 7 (citing Exhibit E, training provided to staff members
     90

during the 2013-2014 school year, Docket Entry No. 34-1, pp. 105-
58; Exhibit F, training on bullying provided at CFISD's 2012
Leadership Conference, Docket Entry No. 34-1, pp. 159-86; and
Exhibit G, training provided at CFISD's 2013 Leadership Conference,
Docket Entry No. 34-1, pp. 187-215).

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reviewing descriptions of       conduct         for    every   action    coded   as

"inappropriate     contact   with   peer," 91         and   that   the   Title   IX

Coordinator is not notified of any incident of sexual misconduct

unless formal disciplinary action is taken. 92 Plaintiff argues that

cumulatively,     this   evidence   could       lead    a   reasonable    jury   to

conclude   that   CFISD is    engaged      in    a record-keeping        practice

designed to minimize the number of reports of sexual harassment and

assault, and to conceal from the public the extent of the problem

on its campuses and avoid accountability. 93

     Plaintiff's summary judgment evidence does not raise a genuine

issue of material fact as to the existence of any official CFISD

policy of deliberate indifference to reports of sexual misconduct.

It is undisputed that CFISD's official policies prohibit sex-based

discrimination and harassment, including dating violence, and that

CFISD's policies are - and were during the 2013-2014 school year -

available to staff, students, and parents in the Student Handbook

and online.     And contrary to plaintiff's contention that "dating


      Plaintiff's Opposition, Docket Entry No. 41, pp. 23-24
     91

(citing Oral and Videotaped Deposition of Deborah Stewart ("Stewart
Deposition"), pp.     51: 20-52: 16, Exhibit 15 to      Plaintiff's
Opposition, Docket Entry No. 42-15, pp. 32-33).
      Id. at 23 (citing Steward Deposition, pp. 50: 2-52: 16, Exhibit
     92

15 to Plaintiff's Opposition, Docket Entry No. 42-15, pp. 31-33).
      Id. at 23-24 (citing Stewart Deposition, pp. 51: 20-52: 16,
     93

Exhibit 15 to Plaintiff's Opposition, Docket Entry No. 42-15,
pp. 32-33). See also Plaintiff's Surreply, Docket Entry No. 47,
pp. 18-20.

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violence is not referenced in the Student Code of Conduct," 94 the

Student     Code   of   Conduct   for    the    2013-2014    school      year   both

references and defines dating violence. 95           Moreover, any claim that

CFISD did not do enough to publicize or to implement its sexual

harassment or dating violence policies, or to comply with state or

federal guidelines, is not sufficient to establish liability under

Title IX.     See Gebser, 118 S. Ct. at 2000 ("[Defendant's] failure

to comply with the regulations, however, does not establish the

requisite actual notice and deliberate indifference.                     And in any

event, the failure to promulgate a grievance procedure does not

itself constitute 'discrimination' under Title IX.                        . We have

never held .            that the implied right of action under Title IX

allows     recovery     in   damages    for    violation    of   those    sorts   of

administrative requirements.").




     94
          Id. at 23.
     95
       Student Code of Conduct, Exhibit D to Sims Declaration,
Docket Entry No. 34-1, pp. 54 (CFISD-ROE 000265) ("Students shall
not:    . . 9. engage in conduct that constitutes dating violence
(see glossary); p. 100 (CFISD-ROE 000311) ("Dating Violence occurs
when a person in a current or past dating relationship uses
physical, sexual, verbal, or emotional abuse to harm, threaten,
intimidate, or control another person in the relationship. Dating
violence also occurs when a person commits these acts against a
person in a marriage or dating relationship with the individual who
is or was once in a marriage or dating relationship with the person
committing the offense, as defined by Section 71.0021 of the Family
Code.").

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                  (2)     Plaintiff Fails to Raise a Genuine Issue of
                          Material Fact as to Whether CFISD Maintained a
                          Policy that Created a Heightened Risk of
                          Sexual Harassment that Was Known or Obvious

     Asserting that CFISD's discovery responses indicate there were

no incidents recorded as dating violence, sexual harassment,                 or

sexual assault at Cypress Creek High School for the school years

2012-2013 through 2016-2017, plaintiff argues that Gibson and CFISD

police     officers     recall    otherwise.      As   evidence   that   sexual

misconduct was a district-wide issue,             plaintiff cites Assistant

Principal Gibson's testimony that she investigated four incidents

while she was at Cypress Creek High School in 2012-2013 and 2013-

2014, that the incidents involved students in current or former

dating     relationships,        and   included   claims   of   "inappropriate

touching" as well as "grabbing and confining to areas." 96           Plaintiff

cites the testimony of CFISD             Police Officer Cedric Nolly who

recalled that another female student in addition to the plaintiff

reported that she was sexually assaulted on the Cypress Creek

campus in 2013-2014. 97      Plaintiff also cites the testimony of CFISD

police officer Patrick Arnett who estimated there to be two sexual

assaults per year district-wide. 98            As evidence that sex in the


     96 Plaintiff's Opposition, Docket Entry No. 41, p. 25 (citing
Gibson Deposition, pp. 90:8-92:23, Exhibit 7 to Plaintiff's
Opposition, Docket Entry No. 42-7, pp. 66-68).

      Id. (citing Oral and Videotaped Deposition of Cedric Nolly
     97

("Nolly Deposition"), pp. 25:15-28:2, Exhibit 10 to Plaintiff's
Opposition, Docket Entry No. 42-10, pp. 8-11).
     98
          Id. at 25-26     (citing Oral and Videotaped Deposition of
                                                       (continued...)

                                        -34-
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stairwells was both common and overlooked,                 plaintiff cites the

testimony of CFISD police officers Mitchell and Arnett, and Cypress

Creek High School counselor Karen Clarkson. 99

       Plaintiff argues that "[b]ased on this cumulative evidence, a

reasonable       jury    could   find   that     CFISD's      actions   created   a

heightened risk that [her] injuries would occur. " 100                   Plaintiff

also    argues    that    this   evidence      shows   that    CFISD    acted   with

deliberate indifference to the known risk of dating violence and




       ( •••continued)
       98

Patrick Arnett, p. 25:2-14, Exhibit 11 to Plaintiff's Opposition,
Docket Entry No. 42-11, p. 5). Plaintiff also cites the deposition
testimony of CFISD police officer Jimmy Banks, but did not provide
the referenced pages in the exhibit filed with the court.     See
Oral and Videotaped Deposition of Jimmy Banks, pp. 11:20-12:15,
Exhibit 12 to Plaintiff's Opposition, Docket Entry No. 42-12, not
included in the exhibit filed with the court).
       99
          Id. at 26 (citing Mitchell Deposition, p. 20:1-6, Exhibit 9
to Plaintiff's Opposition, Docket Entry No. 42-9, p. 4; Arnett
Deposition, pp. 47:16-48:23, Exhibit 11 to Plaintiff's Opposition,
Docket Entry No. 42-11, pp. 18-19; and Oral and Videotaped
Deposition of Karen Clarkson ("Clarkson Deposition"), p. 14:14-19,
Exhibit 14 to Plaintiff's Opposition, Docket Entry No. 42-14,
p. 5). Plaintiff also cites her own declaration as evidence that
sex in the stairwells at Cypress Creek High School was so common
that it has become the school's stereotype among students - so much
so that it made it into a local comedian's Instagram account. See
Id. (citing Madison Smith Declaration, Docket Entry No. 42-1, pp.
3-4 <JI<JI 12-13A).   Defendant objects to the comedian's Instagram
posting as inadmissible hearsay, see Defendant's Reply, Docket
Entry No. 45, p. 19 n. 9.           Plaintiff has not responded to
defendant's objection, and the court agrees that the Instagram
posting is inadmissible hearsay.            Accordingly, defendant's
objection to the Instagram posting is SUSTAINED.
       lOOid
            .


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sexual assault on its campuses, specifically at Cypress Creek High

School.

     But,    again,   the   evidence   does    not   support   plaintiff's

argument.    Although the witnesses whose testimony plaintiff cites

testified that students went to the stairwells to do things that

they should not be doing, none of the witnesses testified that they

knew students used the stairwells to engage in sexual conduct.           For

example, Mitchell testified:

     Q.     Were there areas in the school that you were aware
            of that kids went to do things that kids shouldn't
            be doing at school?

     A.     I would have to say that could be pretty much all
            staircase -- staircase, stairwells. 101

     Clarkson testified that students were frequently caught in the

stairwells, but she did not testify that students were frequently

caught engaging in sexual conduct in the stairwells:

     Q.     No[w], that you said -- you started to say, "We had
            another," and I -- you were about to say -- were
            saying a situation where kids were caught in the
            stairwell?

     A.     We have kids caught in the stairwell,                  not
            frequently, but from time to time.

     Q.     And I'm gathering it's because stairwells are a
            place where students can go and do whatever they
            might should not be doing and go undectected?




       Mitchell Deposition, p. 20:1-6, Exhibit 9 to Plaintiff's
     101

Opposition, Docket Entry No. 42-9, p. 4.

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     A.    There are 38 stairwells in my building, 38 . 102

     Officer Arnett testified that he knew students would use the

stairwells to do things that they were not supposed to be doing at

school, but he also testified that he never encountered students

engaged in sexual activity in the stairwells:

     Q.    At Cy-Creek, when you were there, were there areas
           of the campus that kids were known to go to do
           things that they shouldn't at school, like anything
           that would be a violation of the code of conduct,
           like smoking?

     A.    Yeah, kids being kids, dug outs in the baseball
           field, like any other school. We know from working
           a campus where you normally have your common
           problems.   In the cars, we try to look for kids
           loitering and hanging out in the cars. You just -­
           just where a kid would, you know, where -- if I
           wanted to hide, where would I hide?

     Q.    What about the stairwells?

     A.    Yea, kids going into the stairwells. I mean, kids
           -- it's just, we -- we check the bathrooms.    Kids
           hang -- we'11 knock on the bathroom, go in the
           bathrooms, guys bathrooms, guys hang out in the
           bathrooms.   Sometimes they try to smoke in the
           bathrooms.   So, you know those areas, but, you
           know, they're in all of these -- they -- they go in
           all these areas. They are just kids being kids.

     Q.    Were you -- did you ever encounter any kids making
           out or

     A.    Yes.

     Q.    -- engaged in sexual activity in the stairwells?

     A.    No, not in the stairwells, but I've seen kids
           trying to get it on in the car or you catch them


       Clarkson Deposition, p. 14: 14-19, Exhibit 14 to Plaintiff's
     102

Opposition, Docket Entry No. 42-14, p. 5.

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           out in the backstop.     You might not catch them
           doing nothing in the dug out, but you just say you­
           all aren't supposed to be out here, you know, let's
           get to class, you take the information. Normally,
           when they're out of place like that, they give them
           Saturday school. 103

     Plaintiff alleges that CFISD failed to provide adequate

training on preventing sexual assault and teen dating violence at

Cypress Creek High School, but noticeably absent from plaintiff's

briefing and exhibits is any assertion or evidence that school

officials had notice of previous sexual assaults.                  Instead,

plaintiff merely argues that school officials were on notice that

teen dating violence and sexual assault were concerns for all high

schools and that CFISD was deliberately indifferent to the need for

proper training.     But even accepting plaintiff's allegations as

true and viewing the summary judgment record in the light most

favorable to her, the facts of this case do not fall within the

framework of either the Tenth Circuit's holding in Simpson, or the

Ninth Circuit's holding in Karasek.       The deliberate indifference to

obvious need for training standard adopted by those courts is

confined to circumstances where the need for training or guidance
is obvious due to numerous instances of sexual misconduct.          In that

situation the failure amounts to an official policy of deliberate
indifference to providing adequate training or guidance that is
obviously necessary.     Here, the only concrete incidence of sexual


       Arnett Deposition,
     103
                             pp.  47:16-48:23,   Exhibit 11                  to
Plaintiff's Opposition, Docket Entry No. 42-11, pp. 18-19;
                                   -38-
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assault that plaintiff cites is the assault that she suffered at

the hands of her boyfriend.              The other allegations of sexual

misconduct to which the CFISD witnesses testified are too vague,

abstract,     and unmoored in time to create a genuine issue of

material fact regarding the existence of a systemic problem either

at Cypress Creek High School in particular or at CFISD in general.

Viewing the facts in alight most favorable to plaintiff,                   the

incidents      to    which    CFISD's   witnesses   testified   during   their

depositions do not rise to the level of egregiousness and actual

notice required by Simpson, or to the level of obviousness required

by Karasek.         As defendant argues, �[e]stablishing a material fact

issue as to the existence of a widespread, systemic problem in such

a large school district surely requires more than a small handful

of vague allegations about isolated and unrelated incidents.u 1 o 4



                      (3)    Plaintiff Fails to Raise a Genuine Issue of
                             Material Fact as to Whether CFISD Maintained a
                             Policy that Caused Her to Suffer the Sexual
                             Assault that Occurred

     Even assuming that plaintiff's evidence was capable of raising

genuine issues of material fact as to whether CFISD maintained an
official policy of deliberate indifference towards known acts of

sexual misconduct,           she neither argues nor cites any evidence

capable of establishing that any such policy caused her injuries.


     104
           Defendant's Reply, Docket Entry No. 4 5, p. 8.

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The    summary      judgment      evidence     including    plaintiff's    own

admissions         shows that despite having been instructed by her

mother and the school counselor to stay away from Doe, she ignored

those instructions and voluntarily entered the stairwell with Doe

for the express purpose of engaging in the sexual activity that

lead to her injury. Even if CFISD maintained a policy of deliberate

indifference to reports of sexual misconduct, no reasonable jury

could conclude that policy caused plaintiff's injuries.



             (c)    Conclusions

       Because plaintiff has failed to raise               genuine issues of

material fact on three of the four Karasek factors that courts

apply to Title IX pre-assault heightened risk claims, the court

concludes that the CFISD is entitled to summary judgment on

plaintiff's        claim   that    an   official   CFISD   policy   created    a

heightened risk that she suffer the sexual assault that occurred.



       2•    Plaintiff Fails to Cite Evidence Raising a Genuine Issue
             of Material Fact as to Her Post-Assault Claims

       Plaintiff alleges that CFISD is liable under Title IX for her

post-assault claims because

       [o]ne or more CFISD administrators or officials, with
       authority to take corrective action on [her] behalf, had
       actual notice of the sexual assault, harassment and
       discrimination and failed to adequately respond, in
       violation of their own policies. Those failures amounted
       to deliberate indifference toward the unlawful sexual
       conduct and retaliatory conduct that had occurred, was

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            occurring, or was likely to occur. The District's action
            - and inaction - was clearly unreasonable. As a result,
            [plaintiff] was subject to continuing harassment and a
            loss of educational opportunities. 105

            To prove her post-assault Title IX claims, plaintiff must

establish that CFISD

            (1) had actual knowledge of the harassment, (2) the
            harasser was under the district's control, (3) the
            harassment was based on the victim's sex, (4) the
            harassment was so severe, pervasive, and objectively
            offensive that it effectively barred the victim's access
            to an educational opportunity or benefit, and (5) the
            district was deliberately indifferent to the harassment.

�, 776 F. App'x at 842.                  The only factor in dispute is whether

CFISD responded with deliberate indifference to plaintiff's assault

and post-assault harassment.

            Plaintiff argues that CFISD's response to her assault was

clearly             unreasonable   because    it    should   have   done   more     to

investigate her complaint of sexual assault, and should have been

more responsive to her mother's concerns.                    Plaintiff also argues
that the facts surrounding CFISD's investigation - or lack thereof
- are substantially disputed. 106 But neither failing to investigate

nor         failing      to   respond   to   acts   of   sexual   harassment   to    a

complainant's liking is sufficient to impose liability under Title
IX.         CFISD was not required to provide plaintiff with her chosen
remedy.            Courts have repeatedly held that "schools are not required


            105
                  Plaintiff's Original Complaint, Docket Entry No. 1, p. 1 7
<JI   82.
            106
                  Plaintiff's Opposition, Docket Entry No. 41, pp. 28-2 9.
                                             -41-
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to remedy the harassment or accede to a parent's remedial demands,n

and    that    "courts     should   refrain    from    second-guessing     the

disciplinary decisions made by school administrators.n                Sanches,

647 F.3d at 167-68 (citing Davis, 119 S. Ct. at 1673-74).                CFISD

might have suspended or expelled Doe, but the law does not require

that response in order to avert Title IX liability.                 See Davis,

119 S. Ct. at 1673-74 ("We stress that our conclusion here - that

recipients may be liable for their deliberate indifference to known

acts of peer sexual harassment - does not mean that recipients can

avoid liability only by purging their schools of actionable peer

harassment     or   that   administrators     must    engage   in   particular

disciplinary action.n).

       Moreover, plaintiff ignores the undisputed evidence showing

what CFISD did do.       CFISD police officers immediately responded to

the report of assault made from the hospital, and passed their

report onto the HCSO's, which investigated the assault.              Following

the HCSO's investigation, the Harris County District Attorney's

Office refused to accept charges against Doe.           Assistant Principal

Gibson searched for and reviewed video evidence, which showed

plaintiff and Doe walking arm-in-arm in the hall.               Based on the

evidence available to her, Gibson concluded that the assault

resulted from a consensual encounter that went too far.                Even if

the school's investigative and disciplinary response could have

been better, neither "negligence nor mere unreasonableness is


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enough" to support a Title IX deliberate indifference claim. l..,__h,

776 F. App'x at 842 (quoting Sanches, 647 F.3d at 167).

     This case involves a single incident of sexual assault on a

school campus.       Plaintiff does not allege or cite any evidence

showing that CFISD knew of any prior sexual assaults or harassment

by Doe or anyone else. Although plaintiff complains that when she

returned to school after the assault, Does' friends harassed her at

school by confronting her once in the bathroom, and by calling her

offensive names such as "baby killer" in social media posts,

plaintiff does not cite any evidence showing that Doe harassed her

or that he spoke to her more than once when they exchanged angry

words following a chance encounter that Doe had with plaintiff's

mother and boyfriend at a grocery store.                To the contrary,

plaintiff's mother stated in her declaration that following the

assault plaintiff had no classes with Doe, but did have the same

lunch period. 107   Nor does plaintiff cite any evidence showing that
she or her mother ever notified school administrators about the

harassment she experienced from Does' friends, or that she or her

mother disclosed the identities of the people who were harassing

her or specifics about the harassment that she was experiencing.
Because the deliberate indifference inquiry focuses on the school's
response to known harassment, the response must be so deficient as

to itself constitute harassment. No reasonable jury could conclude


     107
           Lauren Smith Declaration, Docket Entry No. 42-2, p. 7       <JI   38.
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that the school's responsiveness was clearly unreasonable under the

circumstances.

     Plaintiff        argues that summary          judgment   should be denied

because      of   factual         discrepancies   between   CFISD's   answers   to

interrogatories regarding its investigation of her assault and

Gibson's testimony regarding that                 same investigation

whether Gibson spoke with or obtained written statements from

plaintiff and Doe, whether Gibson kept notes or drafted a written

summary or conclusion of the investigation, whether CFISD possessed

or disclosed all of the video evidence, and the basis on which

Gibson concluded the sexual conduct at issue was consensual. But

these factual disputes are immaterial to whether the school's

response was clearly unreasonable as a matter of law.

     Whether the assault was actually consensual is not relevant.

The relevant issue is whether the school acted with deliberate

indifference to plaintiff's complaint of sexual assault, consensual

or not.      In this case, where there was evidence that the incident

may have been consensual,               plaintiff's mother made it clear to

Gibson that she intended to pursue criminal charges against Doe, 108

and where there was a potential for criminal charges, it was not

clearly unreasonable for the school to rely on the investigative

expertise of a law enforcement agency such as the Harris County

Sheriff's Office.            The court's analysis does not presume that the


     108
           Id. at 6   «JI   28.

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act was consensual, but instead, gauges the school's response to a

factually complex situation. The Texas Family Code§ 261.103(a) (1)

allows   a   report   of   child    abuse    to   be   made    to    a   local   law

enforcement agency such as the Harris County Sheriff's Office.

     The discrepancies between CFISD's answers to interrogatories

and Gibson's description of the investigation she conducted do not

foreclose summary judgment.           Even when viewed in the light most

favorable to the plaintiff, these discrepancies are insufficient to

establish that      CFISD possessed any knowledge that might have

rendered its response deliberately indifferent.                 Plaintiff argues

that the school was deliberately indifferent to her emotional and

physical health problems,          which she contends resulted from the

assault, but the cited testimony is vague and establishes only that

plaintiffs'     mother     notified    Cypress    Creek       High   School      that

plaintiff     did   not    feel    comfortable    at    school.          The   vague

communications that plaintiff's mother had with the assistant

principal and with plaintiff's counselor at Cypress Creek High

School raise no genuine,           material issues as to whether CFISD

responded with deliberate indifference to plaintiff's condition

following the assault.

     The     conclusion that plaintiffs' evidence does                   not raise

genuine issues of material fact for trial is supported by decisions

in other courts arising from similar facts.               In Gabrielle M. v.

Park Forest-Chicago Heights, Illinois School District 163, 315 F.3d


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817 (7th Cir. 2003), the court rejected the plaintiff's argument

that    a   school's   response   to   peer   harassment     was   clearly

unreasonable because the school was unsuccessful in preventing

future harassment.     The court explained that
                                                                             !'I
       in arguing that in order not to act with deliberate
       indifference, the school district must have effectively
       ended all interaction between the two students to prevent
       conclusively    any   further    harassment,    Gabrielle
       misunderstands the law. Davis does not require funding
       recipients to remedy peer harassment.               Davis
       disapproved of a standard that would force funding
       recipients to suspend or expel every student accused of
       misconduct. []    All that Davis requires is that the
       school not act clearly unreasonably in response to known
       instances of harassment.

Id. at 825.     See also M.D. v. Bowling Green Independent School

District, 709 F. App'x 775 (6th Cir. 2017) (finding no Title IX

liability following a sexual assault because the defendant school

district prevented the male student offender from further harassing

the female student victim even though the offender was allowed to

return to campus, the two students shared the same lunch period,

and they continued to see each other daily).          The court does not

minimize the consequences to plaintiff and to her well being that

resulted from the assault.        But based on the law applicable to

recipients of federal funding, and the facts established by the

summary judgment record, no reasonable jury could conclude that

CFISD exhibited deliberate indifference in responding either to the

assault or to the alleged post-assault harassment.




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                       V.   Conclusions and Order

        For the reasons stated in§ III, above, Plaintiff's Motion to

File Sur-Reply in Opposition to Defendant's Motion for                Final

Summary Judgment, Docket Entry No. 47, is GRANTED.

        For the reasons stated in§ IV, above, Defendant's Motion for

Final Summary Judgment, Docket Entry No. 33, is GRANTED.

        Because the court has been able to rule on Defendant's Motion

for Final Summary Judgment without considering Geffner's testimony,

Defendant's Motion to Exclude Testimony of Robert Geffner, PhD,

Docket Entry No. 35, is DENIED as MOOT.

        SIGNED at Houston, Texas, on this the 20th day of November,

2020.




                                  SENIOR UNITED STATES DISTRICT JUDGE




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